
593 S.E.2d 763 (2004)
358 N.C. 213
Ruth E. DOWNS, Frank C. Reynolds, Jr., and Marguerite C. Reynolds
v.
STATE of North Carolina, The North Carolina Department of Revenue, E. Norris Tolson, in his capacity as Secretary of the North Carolina Department of Revenue, and The Honorable Roy Cooper, in his capacity as Attorney General of the State of North Carolina.
No. 395PA03.
Supreme Court of North Carolina.
April 2, 2004.
Webb &amp; Graves, PLLC, by Rick E. Graves and Heath K. Dedmond, Aberdeen, for plaintiff-appellants.
Roy Cooper, Attorney General, by George W. Boylan, Special Deputy Attorney General, for defendant-appellees.
*764 PER CURIAM.
AFFIRMED.
